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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0220V
                                          UNPUBLISHED


    ADAM MACKAY,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: January 27, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Jamica Marie Littles, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES 1

      On February 27, 2020, Adam MacKay filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine . Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On November 23, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for his SIRVA. ECF No. 29. On January 27, 2022, Respondent
filed a proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $75,000.00 in pain and suffering. Proffer at I. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $75,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                   )
 ADAM MACKAY,                                      )
                                                   )
                Petitioner,                        )
                                                   )    No. 20-220V
 v.                                                )    Chief Special Master Corcoran
                                                   )    ECF
 SECRETARY OF HEALTH AND HUMAN                     )
 SERVICES,                                         )
                                                   )
                Respondent.                        )
                                                   )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 2, 2020, Adam Mackay (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”). Petition at 1-4. Petitioner alleges that he suffered a Shoulder Injury

Related to Vaccine Administration (“SIRVA”), as defined in the Vaccine Injury Table, after

receiving an influenza vaccine on December 7, 2017. Id. at 1. On July 16, 2021, the Secretary

of Health and Human Services (“respondent”) filed a Rule 4(c) Report, recommending against

compensation because petitioner had not met the severity requirement under the Act based on the

available evidence. ECF No. 21. The Court then ordered the parties to brief the issue of

severity, and petitioner filed additional evidence as Exhibit 8. See ECF No. 28, Exhibit 8.

       After further review of the medical records, including Exhibit 8, respondent filed an

amended Rule 4(c) Report on November 23, 2021, concluding that petitioner had met the

severity requirement and that the case was appropriate for compensation under the terms of the

Act for a SIRVA Table injury. ECF No. 28. That same day, the Chief Special Master issued a

Ruling on Entitlement, finding petitioner entitled to compensation. ECF No. 29-30, 33.
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I.     Item of Compensation

       Respondent proffers that petitioner should be awarded $75,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $75,000.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Adam Mackay:                                 $75,000.00


                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              DARRYL R. WISHARD
                                              Assistant Director
                                              Torts Branch, Civil Division



1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                   /s/ Jamica M. Littles
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DATED: January 27, 2022




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